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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH DAKOTA
                               SIOUX FALLS DIVISION

U.S. EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION,                              )
                                         )
                                         )                      CIVIL ACTION NO. 4:25-cv-4109
                  Plaintiff,             )
                                         )                      COMPLAINT
                                         )
            v.                           )                       JURY TRIAL DEMAND
                                         )
                                         )
                                         )
QSR PITA USA, INC., BUBBAMAX, LLC, )
PAUL DUERRE, and ADAM DUERRE,            )
                                         )
                   Defendants.           )
________________________________________ )




                                 NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964 (“Title VII”), Title I of

the Civil Rights Act of 1991, and Title I of the Americans with Disabilities Act of 1990

(“ADA”), as amended, to correct unlawful employment practices on the basis of sex

(pregnancy/female) and disability (pregnancy related condition) and to provide appropriate relief

to Charging Party Kali Tornow. As alleged with greater particularity in paragraphs 37-40 below,

Defendants QSR Pita USA, Inc. and BubbaMax LLC (as a successor to QSR Pita USA, Inc.)

discriminated against the Charging Party based on sex (pregnancy/female) and disability

(pregnancy related condition) by denying her a reasonable accommodation and terminating her

in violation of Title VII and the ADA.




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                                 JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 703(a)(1), 706(f)(1)

and (3) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.§ 2000e-2(a)(1), §

2000e-5(f)(1) and (3) (“Title VII”), as well as Section 107(a) of the Americans with Disabilities

Act of 1990 (“ADA”), 42 U.S.C. § 12117(a), which incorporates by reference Section 706(f)(1)

and (3) of Title VII of the Civil Rights Act of 1964, 42 U.S.C.§ 2000e-5(f)(1) and (3), and

pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the District of South Dakota.

                                            PARTIES

       3.      Plaintiff, the U.S. Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the administration,

interpretation and enforcement of Title VII and Title I of the ADA and is expressly authorized to

bring this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and

Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Sections

706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1).

       4.      From at least January 2023 to January 2025, Defendants Paul Duerre and Adam

Duerre were owners of Defendant QSR Pita USA, Inc.

       5.      From at least January 2023 to January 2025, Defendant QSR Pita USA, Inc. was a

South Dakota corporation that continuously did business in the State of South Dakota and the

City of Sioux Falls, SD, and continuously had at least 15 employees.




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       6.        From at least January 2023 to January 2025, Defendant QSR Pita USA, Inc. was

an employer engaged in an industry affecting commerce under Sections 101(5) and 101(7) of the

ADA, 42 U.S.C.§§ 12111(5), (7) and Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§

2000e(b), (g) and (h).

       7.        Defendant QSR Pita USA, Inc. dissolved in January 2025. However, from at least

January 2023 to January 2025, QSR Pita USA, Inc. was a covered entity under Section 101(2) of

the ADA, 42 U.S.C. § 12111(2).

       8.        Even after dissolution, the locations formerly operated by QSR Pita USA, Inc.,

continued to operate and serve the same or similar menu as prior to the dissolution.

       9.        A “Second Amendment to Franchise Agreement” was made on March 17, 2025,

by and between Pita Pit Franchising, LLC (“Franchisor”), QSR Pita USA, Inc. (“QSR” or “Old

Franchisee”), BubbaMax LLC (“New Franchisee” or “BubbaMax”) and Paul Duerre

(“Guarantor”).

       10.       Since at least March 17, 2025, BubbaMax assumed operation from QSR of all or

a substantial portion of the business formerly owned by QSR.

       11.       Since at least March 17, 2025, Defendant BubbaMax LLC was a South Dakota

limited liability company that continuously did business in the State of South Dakota and the

City of Sioux Falls, SD, and continuously had at least 15 employees.

       12.       Since at least March 17, 2025, Defendant BubbaMax LLC was an employer

engaged in an industry affecting commerce under Sections 101(5) and 101(7) of the ADA, 42

U.S.C.§§ 12111(5), (7) and Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g)

and (h).




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       13.     Since at least March 17, 2025, Defendant BubbaMax LLC has been a covered

entity under Section 101(2) of the ADA, 42 U.S.C. § 12111(2).

       14.     Since at least March 17, 2025, Defendant BubbaMax LLC, New Franchisee, owns

all or substantially all of the locations that operated under Old Franchisee, Defendant QSR Pita

USA, Inc.

       15.     Since at least March 17, 2025, Defendant BubbaMax LLC, New Franchisee,

operates all or substantially all of the locations that operated under Old Franchisee, Defendant

QSR Pita USA, Inc.

       16.     Since at least March 17, 2025, Defendant BubbaMax LLC, New Franchisee,

continues the businesses that operated under Defendant QSR Pita USA, Inc., the Old Franchisee.

       17.     Defendant BubbaMax LLC, New Franchisee, continues to operate the restaurants

that formerly operated under Defendant QSR Pita USA, Inc., the Old Franchisee.

       18.     Defendant BubbaMax LLC, New Franchisee, continues to use the facilities of the

restaurants that formerly operated under Defendant QSR Pita USA, Inc., the Old Franchisee.

       19.     Defendant BubbaMax LLC continues to operate the restaurants that were

formerly owned by Defendant QSR at the same addresses where they operated under Defendant

QSR.

       20.     Defendant BubbaMax LLC continues to operate the restaurants it obtained

pursuant to the Second Amended Franchise Agreement in the same locations, in the same line of

business, and with substantially the same staff and resources as when the restaurants were owned

by Defendant QSR.

       21.     Defendant Paul Duerre was an owner of Old Franchisee, Defendant QSR, from at

least January 2023 to December 2024.



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          22.   Defendant Adam Duerre was an owner of Old Franchisee, Defendant QSR, from

at least January 2023 to December 2024.

          23.   Defendant BubbaMax LLC, New Franchisee, had prior notice of the pending

EEOC charge against Defendant QSR, Old Franchisee, through Defendant Paul Duerre, the

Guarantor.

          24.   BubbaMax LLC had notice of the EEOC’s investigation of the matters alleged in

this complaint through its agent, Paul Duerre, with whom the EEOC corresponded throughout

the investigation.

          25.   Prior to the dissolution of Defendant QSR in January 2025, Defendant QSR could

have provided both the monetary and injunctive relief requested in this complaint.

          26.   Since BubbaMax LLC assumed operation of QSR, QSR is now unable to provide

the monetary and injunctive relief sought in this matter.

          27.   Defendant BubbaMax LLC, the New Franchisee, is the successor in liability and

damages to Defendant QSR Pita USA, Inc., the Old Franchisee, for all purposes related to this

action.

          28.   Defendant QSR is included in this lawsuit pursuant to S.D. Codified Laws § 47-

1A-1407.2, which allows for lawsuits against dissolved South Dakota entities.

          29.   Defendants Paul Duerre and Adam Duerre are included in this lawsuit pursuant to

S.D. Codified Laws § 47-1A-1407.2 and as shareholders of QSR.

          30.   Since BubbaMax LLC assumed the operation of QSR Pita USA, Inc., Defendants

BubbaMax LLC, Paul Duerre, and Adam Duerre will be able to provide both the monetary and

injunctive relief sought in this lawsuit.




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       31.     Defendants BubbaMax LLC, Paul Duerre, Adam Duerre, and QSR are

collectively referred to herein as “Defendant Employer.”

                             ADMINISTRATIVE PROCEDURES

       32.     More than thirty days prior to the institution of this lawsuit, Charging Party Kali

Tornow filed a charge with the Commission alleging violations of Title VII and the ADA by

Defendant QSR.

       33.     On December 18, 2024, the Commission issued a Letter of Determination to

Defendant QSR, finding reasonable cause to believe that Title VII and the ADA were violated

and inviting Defendant QSR to join with the Commission in informal methods of conciliation to

endeavor to eliminate the unlawful employment practices and provide appropriate relief.

       34.     The Commission engaged in communications with Defendants QSR and Paul

Duerre to provide Defendant Employer the opportunity to remedy the discriminatory practices

described in the Letter of Determination.

       35.     On January 22, 2025, the Commission issued to Defendant QSR a Notice of

Failure of Conciliation advising Defendant QSR that the Commission was unable to secure from

Defendant QSR a conciliation agreement acceptable to the Commission.

       36.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                                  STATEMENT OF CLAIMS


       37.     Since at least February 2023, Defendant QSR engaged in unlawful employment

practices in violation of Title VII, 42 U.S.C. § 2000e(k), § 2000e-2(a), § 2000e-2(m), and in

violation of the ADA, 42 U.S.C. § 12112(a) and § 12112(b)(5).




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               a)       Defendant QSR terminated Charging Party because of her sex (pregnancy)

       after Charging Party informed Defendant QSR of her pregnancy and requested to work

       from home until the end of her first trimester due to severe pregnancy related nausea.

               b)       Prior to this request related to her pregnancy, Charging Party had been

       working at home and Defendant had not given her any negative feedback about her

       performance.

               c)       After she informed Defendant of her pregnancy, Defendant told her that

       her pregnancy was a “distraction” from work. Defendant asserted that Charging Party

       would not be “as effective in the business.”

               d)       Charging Party Kali Tornow is a qualified individual with a disability as

       defined in Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and 12111(8). Tornow

       had an impairment, severe pregnancy related nausea, that substantially limited a major

       life activity.

               e)       Charging Party Kali Tornow requested a reasonable accommodation of

       temporary work from home, until the end of her first trimester, and a brief period of leave

       due to severe nausea related to her pregnancy. Defendant QSR knew of the Charging

       Party’s limitations, yet Defendant QSR failed to provide the reasonable accommodation

       requested or any other accommodation. Instead, Defendant QSR terminated Tornow.

       38.     The effect of the practices complained of in paragraph 37 above has been to

deprive Charging Party of equal employment opportunities and otherwise adversely affect her




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status as an employee because of her sex (pregnancy), disability, and need for disability

accommodation.

       39.     The unlawful employment practices complained of in paragraph 37 above were

intentional.

       40.     The unlawful employment practices complained of in paragraph 37 above were

done with malice or with reckless indifference to the federally protected rights of Charging Party

Kali Tornow.

                                     PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant Employer, and its successors,

officers, agents, servants, employees, attorneys, and all persons in active concert or participation

with it, from discriminating against pregnant employees, including but not limited to those with

pregnancy related disabilities who request reasonable accommodations.

       B.      Order Defendant Employer to institute and carry out policies, practices, and

programs which provide equal employment opportunities for pregnant women and for qualified

individuals with disabilities and which eradicate the effects of its past and present unlawful

employment practices.

       C.      Order Defendant Employer to make whole Charging Party Kali Tornow, by

providing appropriate backpay with prejudgment interest, in amounts to be determined at trial,

and other affirmative relief necessary to eradicate the effects of its unlawful employment

practices, including but not limited to reinstatement or front pay in lieu of reinstatement.

       D.      Order Defendant Employer to make whole Charging Party Kali Tornow by

providing compensation for past and future pecuniary losses resulting from the unlawful


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employment practices described in paragraphs 37-40 above, including but not limited to job

search expenses, medical expenses, and consumer debt accrued due to unemployment, in

amounts to be determined at trial.

        E.     Order Defendant Employer to make whole Charging Party Kali Tornow by

providing compensation for past and future nonpecuniary losses resulting from the unlawful

practices complained of in paragraphs 37-40 above, including emotional pain, suffering,

inconvenience, loss of enjoyment of life, and humiliation, in amounts to be determined at trial.

        F.     Order Defendant Employer to pay Charging Party Kali Tornow punitive damages

for its malicious and reckless conduct, as described in paragraphs 37-40 above, in amounts to be

determined at trial.

        G.     Grant such further relief as the Court deems necessary and proper in the public

interest.

        H.     Award the Commission its costs of this action.


                                     JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint.


                                                     ANDREW ROGERS
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                                                     U.S. EEOC
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                                                     Washington, DC 20507


                                                     CHRISTOPHER LAGE
                                                     Deputy General Counsel
                                                     U.S. EEOC
                                                     131 M. Street NE
                                                     Washington, DC 20507

                                                     GREGORY GOCHANOUR

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                                           /s/ Leslie N. Carter
                                           Leslie N. Carter (IL #6311023)
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                                           U.S. EQUAL EMPLOYMENT
                                           OPPORTUNITY COMMISSION




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 2JS 44 (Rev. 11/04)                                                      CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a)     PLAINTIFFS                                                                                      DEFENDANTS
U.S. Equal Employment Opportunity Commission                                                                QSR Pita USA, Inc., BubbaMax LLC, Paul Duerre and Adam Duerre


    (b) County of Residence of First Listed Plaintiff                                                       County of Residence of First Listed Defendant           Minnehaha County
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                           LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
Leslie N. Carter, Senior Trial Attorney, US EEOC, 310 W. Wisconsin Ave, Suite
500, Milwaukee, WI 53203, (414) 662-3711

 II. BASIS OF JURISDICTION                       (Place an “X” in One Box Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                     and One Box for Defendant)
 ✘
 u1       U.S. Government             u 3 Federal Question                                                                         PTF     DEF                                         PTF      DEF
            Plaintiff                          (U.S. Government Not a Party)                        Citizen of This State          u 1     u 1     Incorporated or Principal Place      u 4 u4
                                                                                                                                                   of Business In This State

 u2       U.S. Government             u 4 Diversity                                                 Citizen of Another State      u 2       u 2    Incorporated and Principal Place      u 5       u 5
            Defendant                                                                                                                                 of Business In Another State
                                               (Indicate Citizenship of Parties in Item III)
                                                                                                    Citizen or Subject of a       u 3       u 3    Foreign Nation                        u 6       u 6
                                                                                                      Foreign Country
 IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                           TORTS                                 FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
 u 110 Insurance                    PERSONAL INJURY                    PERSONAL INJURY              u 610 Agriculture                u 422 Appeal 28 USC 158          u 400 State Reapportionment
 u 120 Marine                     u 310 Airplane                    u 362 Personal Injury -         u 620 Other Food & Drug          u 423 Withdrawal                 u 410 Antitrust
 u 130 Miller Act                 u 315 Airplane Product                 Med. Malpractice           u 625 Drug Related Seizure              28 USC 157                u 430 Banks and Banking
 u 140 Negotiable Instrument           Liability                    u 365 Personal Injury -                of Property 21 USC 881                                     u 450 Commerce
 u 150 Recovery of Overpayment    u 320 Assault, Libel &                 Product Liability          u   630 Liquor Laws                   PROPERTY RIGHTS             u 460 Deportation
      & Enforcement of Judgment        Slander                      u 368 Asbestos Personal         u   640 R.R. & Truck             u 820 Copyrights                 u 470 Racketeer Influenced and
 u 151 Medicare Act               u 330 Federal Employers’               Injury Product             u   650 Airline Regs.            u 830 Patent                             Corrupt Organizations
 u 152 Recovery of Defaulted           Liability                         Liability                  u   660 Occupational             u 840 Trademark                  u 480 Consumer Credit
      Student Loans               u 340 Marine                       PERSONAL PROPERTY                     Safety/Health                                              u 490 Cable/Sat TV
      (Excl. Veterans)            u 345 Marine Product              u 370 Other Fraud               u   690 Other                                                     u 810 Selective Service
 u 153 Recovery of Overpayment         Liability                    u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY             u 850 Securities/Commodities/
       of Veteran’s Benefits      u 350 Motor Vehicle               u 380 Other Personal            u   710 Fair Labor Standards     u 861 HIA (1395ff)                       Exchange
 u 160 Stockholders’ Suits        u 355 Motor Vehicle                    Property Damage                   Act                       u 862 Black Lung (923)           u 875 Customer Challenge
 u 190 Other Contract                  Product Liability            u 385 Property Damage           u   720 Labor/Mgmt. Relations    u 863 DIWC/DIWW (405(g))                 12 USC 3410
 u 195 Contract Product Liability u 360 Other Personal                   Product Liability          u   730 Labor/Mgmt.Reporting     u 864 SSID Title XVI             u 890 Other Statutory Actions
 u 196 Franchise                       Injury                                                              & Disclosure Act          u 865 RSI (405(g))               u 891 Agricultural Acts
     REAL PROPERTY                    CIVIL RIGHTS                   PRISONER PETITIONS             u   740 Railway Labor Act             FEDERAL TAX SUITS           u 892 Economic Stabilization Act
 u 210 Land Condemnation          u 441 Voting                      u 510 Motions to Vacate         u   790 Other Labor Litigation   u 870 Taxes (U.S. Plaintiff      u 893 Environmental Matters
 u 220 Foreclosure                ✘ 442 Employment
                                  u                                      Sentence                   u   791 Empl. Ret. Inc.                 or Defendant)             u 894 Energy Allocation Act
 u 230 Rent Lease & Ejectment     u 443 Housing/                      Habeas Corpus:                        Security Act             u 871 IRS—Third Party            u 895 Freedom of Information
 u 240 Torts to Land                   Accommodations               u 530 General                                                           26 USC 7609                       Act
 u 245 Tort Product Liability     u 444 Welfare                     u 535 Death Penalty                                                                               u 900Appeal of Fee Determination
 u 290 All Other Real Property    ✘ 445 Amer. w/Disabilities -
                                  u                                 u 540 Mandamus & Other                                                                                 Under Equal Access
                                       Employment                   u 550 Civil Rights                                                                                     to Justice
                                  u 446 Amer. w/Disabilities -      u 555 Prison Condition                                                                            u 950 Constitutionality of
                                       Other                                                                                                                               State Statutes
                                  u 440 Other Civil Rights

 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                            Appeal to District
 ✘
 u1       Original      u 2 Removed from                 u 3
                                                 Remanded from                                 u 4 Reinstated or u 5 Transferred  from
                                                                                                                     another district  u 6 Multidistrict                    u 7       Judge from
                                                                                                                                                                                      Magistrate
          Proceeding
                  State Court                    Appellate Court              Reopened              (specify)                  Litigation                                             Judgment
                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                         Title VII of the Civil Rights Act of 1964, 42 U.S.C.§ 2000e-2, 42 U.S.C.§ 2000e-5, and the Americans with Disabilities Act, 42 U.S.C. § 12117
 VI. CAUSE OF ACTION Brief description of cause:
                          Legal action to correct unlawful employment practices on the basis of sex (pregnancy/female) and disability (pregnancy related condition).
 VII. REQUESTED IN        u CHECK IF THIS IS A CLASS ACTION                     DEMAND $                              CHECK YES only if demanded in complaint:
      COMPLAINT:              UNDER F.R.C.P. 23                                                                       JURY DEMAND:           ✔ Yes
                                                                                                                                             u          u No
 VIII. RELATED CASE(S)
                                            (See instructions):
       IF ANY                                                       JUDGE                                                                 DOCKET NUMBER

 DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
   06/23/2025                                                         /s/ Leslie N. Carter
 FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                   APPLYING IFP                                    JUDGE                             MAG. JUDGE
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JS 44 Reverse (Rev. 11/04)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
